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February 6, 2025

E-Filed

The Honorable Vince Chhabria
450 Golden Gate Avenue
17th Floor, Courtroom 4
San Francisco, CA 94102

       Re: Kadrey, et al v. Meta Platforms, Inc., Case No. 3:23-cv-03417-VC

Dear Judge Chhabria,

       In light of the Court’s February 4 order, Dkt. 416, Plaintiffs respectfully submit this
supplemental letter regarding their Motion for Relief from Non-Dispositive Order of a Magistrate
Judge, Dkt. 397.

        As additional support for the non-exhaustive nature of Plaintiffs’ prima facie crime-fraud
showing, see, e.g., Doe 3 v. Indyke, No. 1:24-cv-01204-AS, Dkt. 278 (S.D.N.Y. Nov. 13, 2024)
(ordering defendant to “produce any document that meets the [crime-fraud] parameters” after in
camera review of “a fraction of the challenged documents”) (emphasis added), Plaintiffs list in
Appendix A seven additional potentially implicated Meta documents. 1 These documents contain
redactions for attorney-client privilege and their contents appear to show similar attorney
involvement in a crime, fraud, or unlawful conduct. See Appendix A. While it is practically
impossible for Plaintiffs to identify all of the implicated Meta documents among the thousands of
documents and communications that Meta has redacted and withheld entirely, Plaintiffs
respectfully request that the Court also order Meta to submit the seven documents in Appendix A
for in camera review, per Dkt. 416.


                                                             /s/ Maxwell V. Pritt
                                                             Maxwell V. Pritt
                                                             Boies Schiller Flexner LLP
                                                             Interim Lead Counsel for Plaintiffs




1
 Five redacted documents and two documents hyperlinked in one of them that appear to have been fully
withheld.
